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                             UNITED S] ATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                                                                        FILED
                                 SAN ANTONIO DIVISION
                                                                                           JUN   1   GO2O
JESSIE GLORIA, LUIS BOTELLO-FAZ,
NICOLAS MACRI, PAT GRANT,
JENNIFER RAMOS, and ISAIAH
                                                                                    STIcTS
                                                                                 cl.ERK. U.S. DISTRICT
                                                                                                       COURT


RODRIGUEZ

               Plaintiffs

V.                                                    CIVIL NO. SA-20-CV-527-OG

RUTH HUGHS, in her official capacity as
Texas Secretary of State

               Defendant

                                             ORDER

       The issue in this case is narrow: whether § 82.003 of the Texas Election Code, on its face,

violates the Twenty-Sixth Amendment to the U.S. Constitution. This issue, among others, is also

being addressed in a related case styled Texas Democratic Party et. al.   v.   Abbott, et. al, which is

currently pending before the Fifth Circuit.' Although the Fifth Circuit has not yet issued a ruling

on the merits, the issue is before a three judge panel and the merits will be addressed. For that

reason, the Court stays this case pending a decision on the merits by the Fifth Circuit and the

outcome of any appeal thereof. The deadline(s) for responding to any pending motions are

suspended and will be reinstated when the stay is lifted.
                                         tVb
        SIGNED AND ENTERED this                 day



                                               ORLANDO L. GARCIA
                                               CHIEF U.S. DISTRICT JUDGE




      'See Texas Democratic Party, et. al. v. Abbott, et. al, No. 20-50407, 2020 WL 2982937,
at *2528(5th Cir. June 4,, 2020) (gran*ing stay pending appeal).
